Case 1:22-cv-01791-PAB-MEH Document 33 Filed 09/15/22 USDC Colorado Page 1 of 2




  Civil Action No. 1:22-cv-01791-


  DELBERT SGAGGIO

  And

  Absolute Natural Rights




          Plaintiff,

  v.

  PHIL WEISER COLORADO ATTORNEY GENERAL

  ALEXIS FALCON

  P.L. FARMER

  CITY OF COLORADO SPRINGS

  Defendants


                          UnOpposed MOTION FOR DISMISSSAL UNDER RULE 41.

  Pro Se I Delbert Sgaggio Move the following for myself and for Absolute Natural Rights.

  I did confer with Defendants Weiser’s attorney on 9/14/2022 They are not Opposed to this motion.

  Rule 41. Dismissal of Actions

  (a) Voluntary Dismissal.

  (1) By the Plaintiff.

  (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any applicable
  federal statute, the plaintiff may dismiss an action without a court order by filing:
Case 1:22-cv-01791-PAB-MEH Document 33 Filed 09/15/22 USDC Colorado Page 2 of 2




  (i) a notice of dismissal before the opposing party serves either an answer or a motion for
  summary judgment;

  I voluntary Dismiss ALEXIS FALCON, P.L. FARMER, CITY OF COLORADO SPRINGS,

  from case 1:22-cv-01791.

  ALEXIS FALCON, P.L. FARMER, CITY OF COLORADO SPRINGS have violated and

  continue to violates my rights, however I am not able to get proper remedy, while ALEXIS

  FALCON, P.L. FARMER, CITY OF COLORADO SPRINGS are intertwined in Defense with

  the Attorney General of Colorado.




                                                Conclusion

  I ask the honorable court to dismiss ALEXIS FALCON, P.L. FARMER, CITY OF COLORADO

  SPRINGS, From Civil Action 1:22-cv-01791.

  Respectfully submitted this 15 th day of Sept, 2022.
